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r by local rules of court. This form, approved by the Judicial Confe f nited
purpose of initiating the civil docket shect. (SEE INSTRUCTIONS UN NEXT PAGE OF THIS FORA)

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CIVIL COVER SHEET

Jement the filing and service of pleadings or other papers as required by law, except as
nf rarce of the. United States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

Evance, Qozenne bev‘ co

(b) County of Residence of First Listed Plaintiff C 9 Pp,

ANTS GENESTS Wea rthCace , LLC

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YY Wages Dave O Pers oy Lle Ofbjo Cour AYSe

County of Residence of First Listed Defendant

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(¢) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Kaawn) Jo Ln Dor t —| xX CL
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IV. NATURE OF SUIT ¢tace an “x” in One Bax Only) Click here for: Nature of Suit Code Descriptions.
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0 110 Insurance

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O 130 Miller Act

140 Negotiable Instrument

G 150 Recovery of Overpayment

& Enforcement of Judgment

CG 15) Medicare Act

C152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

0 153 Recovery of Overpayment
of Veterans Benefits

© 160 Stockholders’ Suits

& 190 Other Contract

© 195 Contract Product Liability

196 Franchise

   

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M7 210 Land Condemnation
O 220) Foreclosure

CF 230 Rent Lease & Ejectment
240 Torts to Land

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0 710 Fair Labor
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OD 360 Other Personal
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C1 865 RSI (405(¢))

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O 740 Railway Labor Act

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VII. REQUESTED IN
COMPLAINT:

VIE, RELATED CASE(S)

O) CHECK IF THIS IS A CLASS ACTION

DEMAND $ > 00) 600,00 _ CHECK YES only if demanded in complaint:
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(609) 927-9227

ATTORNEY FOR PLAINTIFF (S)

 

Plaintiff (s) UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

FRANCES SUZANNE DEVICO,

CASE NO.

vs.

Defendant(s) CIVIL ACTION
GENESIS HEALTHCARE,LLC d/b/a/
GENESIS HEALTHCARE; GENESIS
HEALTHCARE ,INC.d/b/a GENESIS or GENESIS
HEALTHCARE ;144 MAGNOLIA DRIVE
OPERATIONS LLC D/B/A/ COURT HOUSE CENTER;
DAVID KINDER; LOIS HELLMIG;
JOHN DOE I through
JOHN DOE IX(fictitious names) ;
ABC CORPORATIONS 1-20

(fictitious names) j/s/a; COMPLAINT AND JURY DEMAND

NATURE OF THE ACTION

This is an action under Title I of the American with Disabilities
Act of 1990, as amended by the Americans with Disabilities Act

Amendments Act of 2008 ()collectively "ADA"), , Title I of the
Civil Rights ACT OF 1991 and The New Jersey Law Against
Discrimination, N.J.S.A. 10:5-1 et. seg. ("LAD"), to correct

unlawful employment practices on the basis of disability
and to provide appropriate relief to Frances Suzanne
Devico, who was adversely affected by such practices. As
alleged with greater particularity below, Defendants
unlawfully discriminated against, failed to accommodate,
failed to engage in the interactive process with Ms.
Devico and unlawfully terminated Ms. Devico on the basis
of her disability.
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PARTIES:

1. Plaintiff FRANCES SUZANNE DEVICO, (hereinafter “Plaintiff”) is a
natural person with her domicile in the Town of Cape May
Courthouse, County of Cape May, State of New Jersey.

Za. At all times relevant to this Complaint, Plaintiff was employed
by defendants as a nurse at Court House Center in the Town of Cape
May Court House, County of Cape May, State of New Jersey.

2b. At all relevant times, Defendant Genesis Healthcare LLC d/b/a/
Genesis HealthCare ("Genesis HealthCare")is a corporation organized
and existing under the laws of the State of Delaware and is
registered in New Jersey as a limited liability company that owns
and manages The Court House Center, with its principal place of
business and domicile at 101 East State Street, Kennett Square, in
the County of Chester, State of Pennsylvania, and has continuously
been doing business in the State of New Jersey and the Town of Cape
May Court House and continuously had at least 15 employees.

3. At all relevant times, Defendant Genesis Healthcare Inc. d/b/a/
Genesis or Genesis HealthCare ("Genesis HealthCare Inc.")is a
corporation, that owns and manages the Court House Center and is
organized and existing under the laws of the State of Delaware and
is registered in New Jersey as a corporation, with its principal
place of business and domicile at 101 East State Street, Kennett
Square, in the County of Chester, State of Pennsylvania, and has
continuously been doing business in the State of New Jersey and the
Town of Cape May Court House and continuously had at least 15
employees.

4. At all relevant times, Defendant 144 MAGNOLIA DRIVE

OPERATIONS LLC D/B/A/ COURT HOUSE CENTER ("Court House Center") is
a corporation organized and existing under the laws of the State of
Delaware and is registered in New Jersey as a limited liability
company , with its principal place of business and domicile at 144
Magnolia Drive, Cape May Court House, New Jersey 08210 in the
County of Cape May and has continuously been doing business in the
State of New Jersey and the Town of Cape May Court House and
continuously had at least 15 employees.

5. At all relevant times, Genesis Healthcare, Genesis Healthcare,
Inc. and The Court House Center (collectively the "Genesis
Defendants") have continuously been an employer engaged in an
industry affecting commerce under Section 101(5) of the ADA, 42
U.S.C. 12111(5), and Section 101(7)of the ADA, 42 U.S.C., which
incorporates by reference Sections. 70l1(g) and (b) of Title VII, 42
U.S.C. Sections 200e (g) and (h).
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6. At all relevant times, the Genesis Defendants have been a
covered entity under Section 101(2) of the ADA, 42 U.S.C. Section
12111(2).

7. David Kinder was and continues to be the Administrator and
Center Executive Director at the Court House Center.

8. Lois Hellmig was and continues to be, the Director of Nursing at
the Court House Center.

JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction pursuant to 28
U.S.C.§ § 1331 and Section 102 of the Civil Rights Act of
1991, 42 U.S.C. Section 198la. The supplemental jurisdiction
of this Court is invoked over New Jersey State law causes of
action, pursuant to 28 U.S.C.§ 1367.

2. Venue is proper in this Court pursuant to 28 U.S.C.§ 1391
(b), because the events giving rise to the Plaintiff’s claims
occurred in New Jersey .

3. This Court may properly maintain personal jurisdiction over
the Defendants because Defendants' contacts with this state
and this judicial district are sufficient for the exercise of
jurisdiction over defendants to comply with traditional
notions of fair play and substantial justice.

4, Plaintiff filed a charge of discrimination with the Equal
Employment Opportunity Commission (“EEOC”)

5. On September 30, 2016, the EEOC determined that the
Genesis Defendants had committed acts of discrimination
against the Plaintiff. See, Exhibit A, a copy of the EEOC’s
determination relating to the Defendant Genesis.

6. On September 29, 2017 the EEOC issued a Right to Sue
authorizing the Plaintiff to commence an Action against the
Defendant Genesis. See, Exhibit B, a copy of the Right to Sue
relating to the Defendant Genesis.

7. This action is filed within 90 days of the Right to Sue
Letter issued related to the Defendant Genesis.

8. Any and all prerequisite to the institution of this Action
have been met.

9. In or around June 2014, Defendants engaged in unlawful
employment practices in violation of Section 102 of Title I of
the ADA, 42 U.S.C. Section 1212, as outlined below:
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FACTS

Plaintiff was employed by Genesis Healthcare (“Genesis” or
“Employer”) and worked at the Court House Center, which was
owned by the Genesis Defendants, as a nurse until her
termination on June 23, 2014.

. Plaintiff’s supervisor was Lois Helmig, Director of Nursing

(the “DON”).

. David Kinder was the Administrator of The Court House Center
-Ms. Devico had been an employee of Courthouse long before

Genesis purchased the facility on or about April 14, 2014.

. Plaintiff had been employee for Courthouse for almost ten(10)

years, without having a record of any disciplinary actions,
and in fact had a very favorable work record with Courthouse,
and had received favorable performance reviews.

. At the time Genesis took over, Plaintiff's salary as an LPN

was $29.90 per hour and was the highest paid nurse at the
facility.

. Before Genesis took over, Plaintiff received very favorable

evaluations and viewed as a good nurse.

. Plaintiff had been provided reasonable accommodations for her

disability and did her job well.

- A little over a month after Genesis took over, Plaintiff was

wrongfully and unlawfully terminated her based on a
questionably performed urine test (which Ms. Devico disputes
was even her urine, as discussed more fully below);
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10. The Urine test was taken on June 9, 2014 when Plaintiff
was having a temporary reaction, not previously experienced,
to a very recently increased dose of a blood pressure
medication (Metroprol 50 mg. prescribed by Dr. Burhanna) which
caused her to feel dizzy and have a dry mouth.

11. As a result of the dizziness Ms. Devico experienced,
Plaintiff went for a cardiac evaluation the very next day and
her physician sent her for further medical tests.

12. Ms. Devico provided a copy of this report to her
employers as further evidence of her reaction to the blood
pressure medicine.

13. Plaintiff also once again provided copies of
prescriptions for the legal medications Plaintiff takes for
her disability.

14. Plaintiff passed the illegal, allegedly non-negative
urine test Defendants had done, and Defendants still used
that as a basis to illegally fire her.

15. Ms. Devico is on several legally prescribed medications,
the prescriptions of which are in her employment file and have
been since Plaintiff was hired.

16. Ms. Devico has been legally using these medications for
years while performing the same job for Genesis’ predecessor
company, Courthouse Convalescent Center ("Courthouse").

1?. Traces of these prescribed medications were apparently
indicated on the drug screening test.

18. One of the medications which Ms. Devico legally takes for
her disability, Xanax, did not even show up in the urine test
which was allegedly based on her urine.

19. However, the urine test that was done was not a
“guarded” urine test and Lois Hellmig, the Director of
Nursing (“DON”), who administered the test at Courthouse, left
the room twice with the urine, before submitting it for
testing.

20. Ms. Devico passed this non-negative test because of the
legal prescriptions Plaintiff had for medications Plaintiff
took for her disability, copies of which Plaintiff had
previously provided to her employer.

21. Soon thereafter, Ms. Devico obtained, at her own expense

a second guarded drug screening done at Quest Diagnostics,
which Plaintiff passed.
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22. That test correctly showed the presence of Xanax, which
the Genesis test did not, further suggesting that the urine
that was improperly tested did not belong to Ms. Devico at
all, because if it had been hers, it would have showed the
presence of Xanax, for which Plaintiff had a prescription.

23. Moreover, the Genesis illegal urine test showed the
presence of Ativan, which was not even on Ms. Devico’s
medication cart and is a medication Plaintiff does not take.

24. Defendants never provided to Plaintiff any policies
pertaining to ensure equal employment opportunities,
harassment policies , problem resolution procedures, or even
an employee handbook.

25. Although Defendants made the employees, including Ms.
Devico, acknowledge on a computer that they received the hand
book and policies, as a condition of getting onto the Genesis
Payroll, they never provided to Ms. Devico a copy of the
actual handbook and policies and problem resolution process or
of any procedures for reporting or investigating
discrimination claims.

26. There were no posted signs at the time to notify
employees of these policies.

27, On 6/23/2014 Plaintiff was discharged as a result of the
aforementioned illegal urine test, done for medications
Plaintiff had taken due to her disability, of which her

employer was aware, and had been included in her employment
file.

28. The illegal urine test was administered at her job on
6/9/2014, at the direction of the DON as a result of her
aforementioned dizziness due to the newly increased dosage of

Metoprolol (blood pressure medication) Plaintiff had taken the
night before.
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29. Plaintiff’s doctor had given her a prescription for that
medication and had just recently increased her dose.

30). The urine test that was done tested Plaintiff for
medications for which Plaintiff had prescriptions, due to her
disability, and of which the Employer was aware.

 

Silee Plaintiff was wrongfully terminated as a result of a
positive test for these legal medications for which Plaintiff
had been given a prescription by her treating physician, for
her disability.

ee These medications do not interfere with her ability to do
her job.

33. Plaintiff takes them at night when not working.

34. The urine test given to Plaintiff was not a typical

random drug test done to screen for illegal drugs.

355 Instead, it was done, as previously stated, to test her
for legal medications which Plaintiff takes for her disability
(when not at work) and which Defendants were aware.

36. The DON wrongfully accused Ms. Devico of being under the
influence of narcotics as the cause of her dizziness.

37. Plaintiff's dizziness was caused by an increased dose of
her blood pressure medication, Metroprolol, which she takes
take for her high blood pressure. Plaintiff’s employer has
been fully aware of these prescribed medications.

38. Plaintiff is disabled due to chronic pain, scoliosis
Spondylosis, hardware in her body from C6-Tl,high blood
pressure and Plaintiff is a former Cancer patient. Plaintiff
wears a back brace.

28. Due to Plaintiff’s chronic pain, Plaintiff had previously
taken Oxycodone at night, when not at work.

40. This medication has been prescribed by her doctor.
Plaintiff can no longer take this medication and takes Lyrica
instead.

41. Plaintiff had previously provided her employer with her
medical records and prescription information.

42, Before Genesis became Plaintiff's employer, her former
Director of Nursing had recognized that Plaintiff was a good
nurse and accommodated her.

43. When Genesis became the new owner, shortly before
Plaintiff was fired, Ms. Devico was told she was being set up
so she could be fired.
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44. Now the people at Genesis have told her present employer
that Plaintiff was intoxicated, which is not true.
45. On the date in question, Plaintiff's symptoms had been

due to a bad reaction to an increased dose of legally
prescribed blood pressure medication.

46. Instead of calling 911 to get Ms. Devico help for her
dizziness, which was caused by too low blood pressure, her
employer used it as an opportunity to do an illegal urine test
to test for medications(which Ms. Devico had been legally
prescribed for her disability) so that they could wrongfully
terminate her.

47. Plaintiff's disability was the motivating factor for
Defendant's wrongful termination of her employment as a Nurse
with Genesis Healthcare

48. Both Louis Hellmig, the Director of Nursing and David
Kinder, the Administrator worked with Ms. Devico before, when
Plaintiff was a nurse at North Cape and Victoria Manor, both
owned by Genesis.

49, Ms. Devico successfully maintained a workers'
compensation action against Genesis in 1990, based on neck
injuries Plaintiff suffered while working for them.

50. Plaintiff received a permanency award from Genesis.
51. Both Ms. Helmig and Mr. Kendar remembered Ms. Devico
when Genesis took over Courthouse.

52. In fact, when Ms. Helmig would call Ms. Devico to relay
messages to other staff, Plaintiff would frequently say to her
“you will never remember” and hang up the phone on her.

53. Ms. Devico had provided her medical records and copies of
her prescriptions when Plaintiff was first hired by
Courthouse, which were included in the employee records left
in a box by Gloria Brereton for Genesis when they took over.
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54. Ms. Devico later found out that these employee
records were removed and destroyed at the direction of
Lois Hellmig, after Ms. Devico was terminated.

55. In fact, all of the remaining employees had to go
to Cape Urgent Care to get new physicals and urine test
afterwards.

56. That may explain why Defendants now claims that
they have no records containing any of the medical
information and prescriptions previously provided to
Courthouse by Ms. Devico.

57. If the (nonguarded) urine tested by Defendants was
really Ms. Devico’s urine, it would have contained Xanax,
a prescription that Plaintiff legally takes.

58. Xanax did not show up in that drug screening, but did in
the second independent guarded drug screening test taken by
Ms. Devico at Quest.

59. Ms. Devico passed both tests since Plaintiff had
legal prescriptions for the medications that showed up,
which Plaintiff takes for her disability.

60. Rick in HR, who had been present at the
aforementioned urine test, also stated that the test was
not done legally.

61. When Ms. Devico was experiencing the dizziness and
dry mouth from the increased dose of Metoprolol and asked
for her blood pressure to be taken and either her husband
or 911 be called, Ms. Helmig, the DON, specifically said
to her that Metoprolol doesn’t cause doesn’t cause
dizziness and that Plaintiff was intoxicated and under
the influence of narcotics.

62. Defendants' allegation that Ms. Devico was
intoxicated, slurring her speech, moving slowly and
unsteadily and under the influence of narcotics is simply
untrue and Plaintiff was very dizzy.

63. This was an isolated incident, and Ms. Devico has
since switched blood pressure medications, a reasonable
accommodation for her disability which Genesis was
legally obligated to provide.

64. In light of her sudden bad reaction to the increased
dose of her blood pressure medication, Ms. Devico did
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everything she could to keep her patients out of harms’ way
and do her job, by immediately locking up her medical cart and
calling the DON for help, and waiting for another nurse to
take over for her, since Plaintiff was the only nurse on the
floor.

Ms. Devico asked that either her husband or 911 be
called and asked that her high blood pressure be taken.

66. Defendants never took her blood pressure.

67. However, Plaintiff did attempt to call the DON for help,
since Plaintiff could not leave her floor and her patients
until another nurse came to take over for her.

68. Plaintiff was the only nurse on the floor.

ao, Instead of getting help for Ms. Devico, Plaintiff was
asked to go to the DON’s office and given the illegal urine
test.

70. This is in spite of the fact that Ms. Devico
explained to them that she was having a reaction to the
blood pressure medication and needed medical attention.
All they had to do was to take her blood pressure to
confirm what Ms. Devico was saying, and they would have
seen blood pressure was too low.

71. However, they took it as an opportunity to set her
up to be fired, and instead did the illegal, non-guarded
urine test.

BL, It is questionable as to whether the urine was
really plaintiff's, because if it was, one of the
medications she was legally on for her disability, Xanax,
would have showed up on the test results.

13s It. did not.

74. Instead, Ativan did, which was not even on her
medication cart.

75. The illegal urine test did not prove Plaintiff was
intoxicated.

76. If anything, the test was done to test for her

legal medications which Plaintiff legally took for her
disability, which her employer was fully aware of.

Ths Plaintiff was not behaving in a way that would
show she was intoxicated.
78. Instead, Plaintiff was exhibiting signs of very low

blood pressure and a bad reaction to the blood pressure
medication evidenced by the dizziness and dry mouth.

79. If Defendants had called 911, like Ms. Devico had
requested, Plaintiff could have had a guarded legal urine
test at the hospital.

BU. Instead Defendants chose to do it illegally and
unguarded.
Oboe Ms. Hellmig left the room twice with the urine once

she had it, but is unclear why.
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82. There is no proof that the urine that had been submitted
for testing was actually Ms. Devico’s , or that it had not
been tampered with.

83. Ms. Devico had a second guarded urine test done at an
independent facility, which she passed.

84. Plaintiff had passed every urine test she has had since
then, without a problem.
85. Any legally prescribed medications which Plaintiff takes
for her disability, and might show up in a urine test, had
been disclosed to her employer previously.

86. Some medications, such as Xanax can show up on a urine
test for a month after it was taken.
87. Genesis knew Ms. Devico had a disability, since

Plaintiff had maintained a successful workers compensation
action and obtained a permanency award against Genesis in
1990.

88. Other people, including Ms. Devico’s present employer,
have wrongfully been told that she was intoxicated.

89. When Ms. Devico was in her bank depositing her pay
check, one of the bank tellers, whose daughter is a
supervisor at another Genesis owned facility, asked her if
she was still working as a nurse and said her daughter told
her (who had never even met Ms. Devico) that they were
going to try to go after her license.

90. Genesis is well aware that Ms. Devico is disabled, but
Plaintiff is fully capable of doing her job.

91. Defendants illegally fired Plaintiff, who had been one
of the highest paid nurses at the facility, and risk
ruining her ability to work somewhere else by talking to
outsiders about what was the subject matter of an EEOC
investigation.

92. Valerie Simuli, an assistant, was a witness when Ms.
Devico suffered the reaction to the blood pressure
medication and saw that she was dizzy and vomited and
unable to finish her duties with respect to the medication
cart.

93. Ms. Devico also had a headache from the reaction
Valerie went to get help for Ms. Devico. Valerie and nurse
Patel from 3B also advised her to go home and that they
were aware that Ms. Devico was going to be set up so that
she could be fired.

94. In all the years Ms. Devico has been employed as a
nurse, there had never been any previous documentation
about any prior alleged violations of gross negligence,
misconduct, policy violations, medical documentation
errors, being under the influence of narcotics while at
work or not allegedly disclosing her need for prescription
narcotics while at work (which Plaintiff takes at night,
but not while at work, and would never taken any
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medication, narcotics or otherwise, which would affect her

ability to perform the essential functions of her job).

95. Defendants repeatedly allege, incorrectly, that Ms.
Devico was under the influence of narcotics while at
work.

96. As set forth previously, Ms. Devico suffered a bad
reaction t a recently increased dose of blood pressure
medication.

97, This evidenced by her medical records from both before
and after the incident.

98. Plaintiff was not intoxicated nor under the influence of
narcotics.
99, Plaintiff did take a legally prescribed pain medication

at night, while not at work, if/when needed it, but this
medication only had a 4% hour half-life so would not have
affected her at work.

100. Still, Plaintiff had advised her employer of this
medication.

101. Although Ms. Devico provided her employer with her
medical information and all of the prescriptions which
she took, she would not have been required to disclose
her need to take prescription narcotics while at work,
because she did not need to take narcotics at work and
would not take any medications that would impair her
ability to perform the essential functions of her job

effectively.

102. Plaintiff did discuss her medications with her
employer.

103. Plaintiff had provided those records.

104. Defendants failed to engage in the interactive

process with the Plaintiff, failed to provide any
reasonable accommodations to her and instead unlawfully
terminated her.

105. Ms. Devico is not responsible if they chose to destroy
those records after they terminated her.
106. Plaintiff she complied with any policy regarding

narcotics prescriptions, even though she was never provided
with a copy of the handbook in which the policy appears.

107, As previously discussed, Ms. Devico did not come to work
knowingly under the influence of drug(s)that could hinder her
job performance, and therefore, could put residents in harm’s
way.

108. Plaintiff specifically did not take narcotics while at
work and would not knowingly take any medication that would
interfere with her ability to do her job or jeopardize the
safety of her patients.
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109. The incident on June 9, 2014 was a completely isolated
incident in which Ms. Devico suffered and unexpected bad
reaction to an increased dose of blood pressure medication
she had previously taken with no problems, when it was at
the previously lower dose.

110. When she saw she was suffering a bad reaction to the
increased dose while at work, and becoming dizzy, Plaintiff
did what she could to keep her patients safe-she locked up her
medication cart, attempted to call the DON for help and waited
for another nurse to come relieve her.

111. The American with Disability Act (“ADA”), and other
laws, protects individuals who have been wrongfully
terminated as a result of a positive test result for legal
medication for which they have been given a prescription by
their treating physician, especially where the medications
do not interfere with her ability to perform her job.

112. Ms. Devico has been legally using these medications for
years while performing the same job for Genesis’ predecessor
company, Courthouse Convalescent Center.

113. Defendants fired Plaintiff not because of what they
inaccurately state Plaintiff did wrong, but because of her
disability.

114. The effect of the unlawful practices complained of
above has been to deprive Plaintiff of her employment at
Defendants' facility, as well as income and benefits related
there to, as well as harming her reputation, all because of
her disability.

115. The unlawful employment practices complained of above
were intentional.
116. The unlawful employment practices above were done with

malice or with reckless indifference to the federally
protected rights of Ms. Devico.

117. The effect of the unlawful practices complained of
above has been to inflict emotional pain, suffering, and
inconvenience upon the Plaintiff by depriving her of her
rights, in violation of the ADA.

118. The Genesis Defendants and the Court House Center

119. should be collectively be deemed Plaintiff's employer
under the "single employer" doctrine and/or "joint employer"
doctrine. Upon information and belief, the Genesis
defendants exercise significant control over the daily
operations of Defendant Court House Center. Further, upon
information and belief, Defendants together exercised
control over the terms and conditions of the Plaintiff's
employment.

120. At all times relevant hereto, Defendants were acting
through their agents, servants, and employees, who were
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acting within the scope of their authority, course of
employment, and under the direct control of the defendants.

121. At all times material herein, the Defendants have been
a "person" and “employer” as defined under the ADA and the
NJLAD, and have been and are, subject to the provisions of
each said Act.

122. In or about June of 2014, Defendants, through their
agents, servants and employees, including, but not limited
to David Kinder and Louis Hellmig, began subjecting
Plaintiff to discrimination based on her disability.

COUNT I
Violations of the ADA
(Disability/Perceived Disability)

1. The foregoing paragraphs are incorporated herein as set forth
in full.

2. Plaintiff's aforementioned medical and physical conditions
rendered her an individual with a disability under the ADA.

3. Plaintiff was perceived by Defendants to be suffering from a
disability under the ADA and had a record of said disability.

4. Defendants fired Plaintiff because of his actual/perceived
disability.

9. Said action constitute a violation of the ADA, and has caused
Plaintiff to suffer damages.

COUNT II
Violations of the ADA
(Failure to Accommodate)
Case 1:17-cv-07556-RMB-JS Document 1 Filed 09/27/17 Page 16 of 37 PagelD: 16

1. The foregoing paragraphs are incorporated herein as set forth
in full.

1. Plaintiff requested a reasonable accommodation from Defendants
in that he sought to be permitted.

2. Defendants could have granted the requested accommodation
without undue hardship but failed to do so.

3. Defendants failure to provide such an accommodation
constituted a violation of ADA

4. Defendants further violated the ADA by not engaging in a good
faith interactive process with Plaintiff in connection with an
accommodation that Defendants had been informed that
Plaintiff would be requiring.

 

COUNT III
Violations of the ADA
(Retaliation)

1. The foregoing paragraph are incorporated herein as if set
forth in full.

2. Requesting an accommodation for a disability and accepting the
accommodation are clearly protected activities under the ADA.

3. Defendants’ termination of Plaintiff in retaliation for his
requesting an accommodation constitutes a violation of the
ADA.

4. There was a causal connection between Plaintiff's known need
for an accommodation due to her disability and her
termination.

5. As a result, Plaintiff has suffered damages.

COUNT IV
Violations of the NJLAD
(Disability/Perceived Disability)

1. The foregoing paragraphs are incorporated herein as if set
forth in full.

2. The Plaintiff’s aforementioned medical conditions rendered
her an individual with a disability under the NJLAD.

3. Plaintiff was perceived by Defendants to be suffering from a
disability under the NJLAD.

4. At all times relevant herein, Plaintiff was employed by
defendants as an "employee" within the meaning of the NJLAD.
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5. Defendants fired Plaintiff because of her actual/perceived
disability.

6. By and through the aforementioned conduct, defendants
discriminated against plaintiff on the basis of her
disability in violation of NJLAD.

7. Said action constitutes a violation of the NJLAD, and has
caused Plaintiff to suffer damages.

COUNT V
Violations of the NJLAD
(Failure to Accommodate)

1. The foregoing paragraphs are incorporated herein as set forth
in full.

. Plaintiff has a disability, as defined by the ADA.

. Defendants knew about Plaintiff's disability.

. Plaintiff requested accommodations and/or assistance for her
disability.

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5. Plaintiff is a "qualified individual" able to perform the
essential functions of her job as a nurse.

6. Defendants were informed of the need for an accommodation of
Plaintiff due to a disability.

7. Defendants did not make a good faith effort to assist the
Plaintiff in seeking accommodations

8. Providing the accommodation, including, but not limited to,
allowing her to make adjustments to the blood pressure
medication that had made her dizzy, would have been
reasonable, meaning that the costs of that accommodation would
not have clearly exceeded its benefits.

9. Defendants could have granted the requested accommodation
without undue hardship but failed to do so

10. The Plaintiff could have been reasonably accommodated but
for the employers lack of good faith.

11. Defendants failure to provide such an accommodation
constituted a violation of NJLAD.

12. Defendants further violated the NJLAD by not engaging in
a good faith interactive process with Plaintiff after
defendants were informed of the need for an accommodation or
Plaintiff due to a disability.

COUNT VI
Violation of the NJLAD
(Retaliation)
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Upon

10.

ll.

. The foregoing paragraphs are incorporated herein as if set

forth in full.

. Requesting an accommodation for a disability and accepting the

accommodation are clearly protected activities under the
NJLAD.

. Defendants’ termination of Plaintiff in retaliation for her

requesting an accommodation constitutes a violation of the
NJLAD.

. The plaintiff was subject to the retaliation at the time , or

after the protected conduct took place.

. There was a causal connection between the termination and

plaintiff's protected conduct.

. As a result, Plaintiff has suffered damages.

COUNT VII
Violation of the ADA
(Harassment/ Hostile Work Environment Based
Her Disability/ Perceived Disability) )

 

. The foregoing paragraphs are incorporated herein as set forth

in full.

. Plaintiff was subjected to harassment by Lois Hellmig and

David Kinder, which was motivated by Plaintiff's known
disability and/or request for accommodation.

- Plaintiff was subjected to false accusations, including, but

not limited to, that she was "intoxicated" and subjected to
an illegal urine test for medications which had legally been
prescribed to her for her disability.

. Plaintiff suspects that the urine that had been used for the

test may not even have been hers, or had been tampered with.

- This illegal urine test was administered by Lois Hellmig and

other employees of the defendants.

. This conduct was not welcomed by the Plaintiff.
. The conduct was motivated by the fact that plaintiff has a

disability as defined by the ADA and/or sought an
accommodation for that disability.

. The conduct was so severe or pervasive that a reasonable

person would find Plaintiff's work environment to ne hostile
or abusive.

. Plaintiff believed her work environment to be hostile or

abusive as a result of the conduct of Lois Hellmig and other
employees of the defendants.

Plaintiff suffered an adverse tangible employment action

when she was fired from her job as a nurse , as a result of
the hostile work environment.
Management level employees, knew or should have known, of
the abusive conduct, since management was not only aware of
Plaintiff's disability, but also participated in the
harassment.
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COUNT VIII
Violation of the NJLAD
(Individual Liability/Aiding and Abetting)

 

1. The foregoing paragraphs are incorporated herein as set forth
in full.

2. Defendant Lois Hellmig was the Director of Nursing at the
Court House Center, an employee of the defendants and one of
Plaintiff's supervisors during all relevant times referred to
herein.

3. Defendant Hellmig made the decision and/or participated in the
decision to terminate the Plaintiff in connection with her
disability and known need for accommodations.

4. Defendant Hellmig discriminated and/or retaliated against
Plaintiff based upon her disability and/or perceived
disability in violation of the LAD. Defendant Hellmig is
liable under the LAD for aiding and abetting the
discriminatory and retaliatory conduct of plaintiff's employer
under N.J.S.A. 10:5-12(e).

5. Defendant Hellmig made the decision and /or participated in
the decision to terminate the plaintiff based upon her
disability/perceived disability/known need for an
accommodation due to her disability.

6. Defendant Hellmig interfered with plaintiff's exercise and
enjoyment of her rights under the NJLAD.

7. Defendant is therefore individually liable to the plaintiff
for her violation of the NJLAD.

8. As a result of the foregoing conduct by defendant, plaintiff
has suffered and will continue to suffer injury and damage to
her personal and professional reputation, emotional distress
resulting in physical manifestations of injury, humiliation,
Stress, the loss of past, present and future earnings and
benefits.

9. The conduct of the defendant was egregious and outrageous with
actual malice and/or was willful and wanton with knowledge of
a high degree of probability of harm to another and reckless
indifference to the consequences of such acts to plaintiff
sufficient to give rise to a claim for punitive damages.

COUNT IX
Violation of the NJLAD
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(Individual Liability/Aiding and Abetting)

1. The foregoing paragraphs are incorporated herein as set forth
in full.

2. Defendant David Kinder was the Administrator at the Court
House Center, an employee of the defendants and one of
Plaintiff's supervisors during all relevant times referred to
herein.

3. Defendant Kinder made the decision and/or participated in the
decision to terminate the Plaintiff in connection with her
disability and known need for accommodations.

4. Defendant Kinder discriminated and/or retaliated against
Plaintiff based upon her disability and/or perceived
disability in violation of the LAD. Defendant Hellmig is
liable under the LAD for aiding and abetting the
discriminatory and retaliatory conduct of plaintiff's employer
under N.J.S.A. 10:5-12(e).

5. Defendant Kinder made the decision and /or participated in

the decision to terminate the plaintiff based upon her

disability/perceived disability/known need for an accommodation
due to her disability.

6. Defendant Kinder interfered with plaintiff's exercise and

enjoyment of her rights under the NJLAD Defendant is therefore

individually liable to the plaintiff for her violation of the

NJLAD.

7.Defendant Kinder made the decision and /or participated in the
decision to terminate the plaintiff based upon her
disability/perceived disability/known need for an accommodation
due to her disability.

8. As a result of the foregoing conduct by defendant, plaintiff
has suffered and will continue to suffer injury and damage to
her personal and professional reputation, emotional distress
resulting in physical manifestations of injury, humiliation,
stress, the loss of past, present and future earnings and
benefits.

9. The conduct of the defendant was egregious and outrageous
with actual malice and/or was willful and wanton with knowledge
of a high degree of probability of harm to another and reckless
indifference to the consequences of such acts to plaintiff
sufficient to give rise to a claim for punitive damages.

COUNT X
Defamation

1. The foregoing paragraphs are incorporated herein as set forth
in full.
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2.The aforementioned wrongful conduct by defendants included
publishing defamatory statements, verbally and in writing, and
constituted libel and slander.

3. The defendants’ wrongful allegations regarding
plaintiff’s alleged "intoxication", was "under the influence
or narcotics and other incorrect statements constituted
defamatory statements.

4. These defamatory statements concerned the plaintiff.

5. These defamatory statements were false.

6. These defamatory statements were communicated to someone other

than the plaintiff.

7. Said defamatory statements injured the reputation of the
plaintiff.
8. Said defamatory statements caused the plaintiff to lose

the goodwill/confidence of others.

9. Said defamatory statements injured and continue to injury
the plaintiff in her profession as a nurse , and in related
positions.

10. Said defamatory statements would be understood by a

reasonable person to be defamatory.

11, Said defamatory statements concerned the plaintiff.
12. Said defamatory statements were false.
13. Said defamatory statement were communicated orally

and/or in writing to someone other than the plaintiff.
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14. Defendants communicated and published the defamatory
statements to other parties knowing and should have known the
defamatory statements to be false.

15. Defendants communicated and published the defamatory
statements with a high degree of awareness and probability
that they were false.

16. Defendants negligently communicated and published the
defamatory statements in failing to determine the falsity of
the statement before they did so.

17. Defendants exceeded the limits of any qualified
privilege by communicating and publishing said defamatory
statements, because said defamatory statements were made in
connection with the aforementioned unlawful employment
practices of the Defendants.

18. Said defamatory statements were not made in good faith
in that defendants ignored plaintiff's statements that said
allegations were false and ignored the medical records she
supplied to them, as well as the pertinent medical and
prescription information previously supplied to her employers,
and contained in her employment file.

19. 16. Said defamatory statements made by defendants were
primarily motivated by malicious intent in connection with

their aforementioned unlawful employment practices..
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20. Said defamatory statements made by defendant were made
when they knew said statements were false and/or defendants

acted in reckless disregard of their truth or falsity.

COUNT XI

1. Plaintiff repeats the allegations of the first eleven
Counts as if set forth fully herein

2. Defendants, John Doe I through John Doe IV and ABC
Corporations 1-20, are unknown persons, partnerships, corporations,
or other business entities which employed Plaintiff at the time of
the incidents described above.

3. Defendants, John Doe I through John Doe IV and ABC
Corporations 1-20, are unknown persons, partnerships, corporations,
or other business entities which participated and /or were
responsible for or complacent of any conduct that constituted
and/or may have been construed as discrimination or participated
in plaintiff's wrongful termination.

4. as a result of the foregoing conduct by defendants ABC
Corporations 1-20, plaintiff was forced to leave her employment
with defendants in violation of the ADFA and or the NJLAD.

5. Plaintiff has suffered and will continue to suffer injury
and damages to her personal and professional reputation, emotional

distress resulting in physical manifestation of injury,
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humiliation, stress, the loss of past, present and future earnings
and benefits, as a direct result of the aforementioned conduct by

defendants.

6. Although plaintiffs have made a diligent inquiry, the
actual identity of the defendants, John Doe I through John Doe IV
and ABC Corporations 1~-20, are unknown to the plaintiffs, and
accordingly are designated by fictitious names. The plaintiff
reserves the right to amend the within Complaint when the actual
identity of said fictitiously named defendants become known.

7. Defendant John Does 1-9 are fictitious names for
individuals who participated and /or were responsible for any
conduct that constituted and/or may have been construed as
discrimination or participated in plaintiff's wrongful
termination.

8. As a result of the aforementioned conduct by John Does 1-9,
plaintiff was forced to leave her employment with defendants in
violation of the ADA and/or the NJLAD.

9. Plaintiff has suffered and will continue to suffer injury
and damages to her personal and professional reputation, emotional
distress resulting in physical manifestation of injury,
humiliation, stress, the loss of past, present and future earnings

and benefits, as a direct result of the aforementioned conduct by

defendants.
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10. Defendants, John Doe I and John Doe II, were the owners and
operators of GENESIS HEALTHCARE,LLC d/b/a/ GENESIS HEALTHCARE;
GENESIS HEALTHCARE,INC.d/b/a GENESIS or Genesis HealthCare;144
MAGNOLIA DRIVE OPERATIONS LLC D/B/A/ COURT HOUSE CENTER; and ABC
Corporations 1-20 jointly, severally and in the alternative and
were the employers of plaintiff, at all times pertinent to the
within Complaint.

ll. Defendants, John Doe III, John Doe IV, John Doe V, and
John Doe VI were other agents, servants and employees and upper
managers of the defendants, responsible for creating, implementing,
and/or carrying out the discrimination and the malicious , extreme
and outrageous conduct, and other wrongful conduct toward
plaintiff as aforementioned.

12. Defendants, John Doe III, John Doe IV, John Doe V, and

John Doe VI were other independent contractors or employees of
independent contractors of the defendants, responsible for
creating, implementing, and/or carrying out the discriminatory and
malicious and extreme and outrageous conduct, and other wrongful
conduct toward plaintiff as aforementioned.
13. Defendants, David Kinder, Lois Hellmig , and John Doe I and
John Doe II, are responsible for the wrongful and discriminatory
conduct on the part of defendants, GENESIS HEALTHCARE,LLC d/b/a/
GENESIS HEALTHCARE; GENESIS HEALTHCARE, INC.d/b/a GENESIS or Genesis
HealthCare;144 MAGNOLIA DRIVE OPERATIONS LLC D/B/A/ COURT HOUSE
CENTER, , John Doe III through John Doe VI, under the theory of
respondeat superior, ratification, and negligent hiring, training,
disciplining and supervision.

14. Defendants David Kinder , Lois Hellmig and John Doe I
through John VIII intentionally agreed and conspired with the one
another in Plaintiff's Rights under the ADA and the NJLAD and are
therefore individually liable to plaintiff.

15. Defendants John Doe I through John Doe VI violated

plaintiff's rights under the ADA and the NJLAD and regulations
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promulgated thereunder, and committed other wrongful conduct toward
plaintiff as is more particularly set forth in the preceding Counts of
this Complaint as to the specifically named defendants, which directly
and proximately caused the injuries, damages and losses to plaintiff

as aforementioned.

16. John Doe VII, John Doe VIII and John Doe IX are other
persons or entities liable to plaintiff for her injuries, damages and

losses, under any theory of liability and cause of action whatsoever.

WHEREFORE, the Plaintiff demands judgment against the Defendants
GENESIS HEALTHCARE,LLC d/b/a GENESIS HEALTHCARE; GENESIS
HEALTHCARE, INC.d/b/a GENESIS or Genesis HealthCare;144 MAGNOLIA DRIVE
OPERATIONS LLC d/b/a COURT HOUSE CENTER;David Kinder; Lois Hellmig;
John Doe I through John Doe VIII and ABC Corporations 1-20, jointly,
severally and in the alternative, as follows:

A. Demand a jury trial on these issues to determine liability and
damages;

B. A judgment declaring that the practices complained of herein are
unlawful;

on All damages, including without limitation liquidated damages,
which Plaintiff has sustained as a result of the Defendants’ conduct
including back pay, front pay, general and special damages for lost
compensation and job benefits she would have received but for
Defendant’ s improper practices together with prejudgment interest, in
amounts to be determined at trial, and other affirmative relief
necessary to eradicate the effects of Defendants’ illegal actions;

D. All damages which the Plaintiff has sustained as a result of
Defendant’s conduct, including general and special damages for job
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benefits he would have receive but for the Defendant’s improper
practices;

E. An award to Plaintiff of compensatory damages, including but not
limited to damages for emotional pain, physical pain, and suffering
where appropriate;

F. Awarding the Plaintiff compensatory damages including but not
limited to damages for pain and suffering, humiliation, embarrassment,
and damage to reputation, character and standing within the community;

I. Defendants are to compensate Plaintiff to make Plaintiff whole by
providing compensation for past nonpecuniary losses resulting from the
aforementioned unlawful employment practices, including, but not
limited to emotional pain, suffering, inconvenience, humiliation, and
embarrassment in amounts to be determined at trial.

J. Defendants are to compensate Plaintiff to make Plaintiff whole by
providing compensation for future nonpecuniary losses resulting from
Defendants' aforementioned unlawful employment practices, in an amount
to be determined at trial.

K. Plaintiff is to be awarded punitive damages in an amount believed
by the Court or trier of fact to be appropriate to punish Defendants
for its malicious, reckless and willful conduct, as described above;

M. Awarding Plaintiff costs and disbursements incurred in connection
with the Action, together with interest at the statutory rate;

N. Awarding the Plaintiff reasonable attorneys’ fees, expert witness
fees, and other costs and expenses;

O. Pre-judgment and post-—judgment interest, as provided by law; and

P. Granting the Plaintiff other and further relief as this Court finds

necessary and proper.

s/Rhonda E. Greenblatt, Esq.
RHONDA E. GREENBLATT, ESQUIRE
Attorney for Plaintiff

222 New Road, Suite 302
Linwood, NJ 08221

(609) 927-9231 (Phone)

(609) 927-9233 (Fax)

pated: AL 27\\-4
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JURY DEMAND
Plaintiff demands a trial by jury of all issues and claims in this
Action.
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CERTIFICATION

Iam an attorney admitted to practice law in the State of New Jersey,
counsel for the above-named Plaintiffs. The matter in controversy in
this case is not the subject of any other action pending in any court
or of a pending arbitration proceeding, nor is any other action or
arbitration proceeding contemplated. There are no other parties who
should be joined in this action, except for specifically designating
those Defendants presently designated by fictitious names.

I certify that the foregoing statements made by me are true. I am
aware that if any of the foregoing statements made by me are willfully
false, I am subject to punishment.

Vo

s/ Rhonda E. Greenblatt, Esq.
RHONDA E. GREENBLATT

; Attorney for Plaintiff
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TAKE NOTICE that the undersigned attorney, counsel for these
Plaintiffs, does hereby demand, that each party herein serving
pleadings, interrogatories and Notices to Produce Documents and
receiving answers thereto, serve copies of all such pleadings, and
provide answered interrogatories received from any party, including
any documents, papers, and other materials referred to therein, upon
the undersigned attorney, and TAKE NOTICE that this is a continuing

demand. ~~”

s/ Rhonda E. Greenblatt, Esq.
Q\ ra \>- RHONDA E. GREENBLATT

Attorney for Plaintiff
TAKE NOTICE that the under signed attorney, counsel for plaintiff,
does hereby demand, answers to all applicable Form interrogatories
prescribed by the Court Rules, and the annexed Interrogatories.
TAKE NOTICE that the undersigned, attorney, counsel for plaintiff,
does hereby demand responses to the Notice to Produce Documents

annexed to the within Complaint, as Exhibit A, within the time limits
prescribed by the Rules of the Court.

 

 

 

 

 

s/ Rhonda E. Greenblatt, Esq.
RHONDA E. GREENBLATT
Attorney for Plaintiff

222 New Road, Suite 302
Linwood, NJ 08221

(609) 927-9231 (Phone)

(609) 927-9233 (Fax)

 

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Case 1:17-cv-07556-RMB-JS Document 1 Filed 09/27/17 Page 30 of 37 PagelD: 30

VERIFICATION

| hereby verify that the statements contained in this Complaint are true and correct to the best of

my knowledge, information and belief.

ner —_

Frances Suzanne Devico

Date: Un desdon Ad La v4 Yona agora Win
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Case.4-17-cv-07, -
Sar OTS TERME: EMER OYMENT OPPORPUNITY COMMISSIONP agelD: 32
net Philadelphia District Office

801 Market Street, Suite 1300
ete SH Philadelphia, PA 19107-3127
mee (215) 440-2600
TTY (215) 440-2610
FAX (215) 440-2632, 2848 & 2604

Charge Number: §30-2015-01207

Frances Devico
§ Lomurno Lane
Cape May Court House, NJ 08210

~ Charging Party

Vv.

GENESIS HEALTH CARE, LLC
101 E State Street
Kennett Square, PA 19348

Respondent

LETTER OF DETERMINATION

Under the authority vested in me by the Equal Employment Opportunity Commission (“the
Commission” or “the EEOC”), L issue the following determination as to the merits of the above
cited charge filed under the Americans with Disabilities Act of 1990, as amended (“ADA”). The
timeliness and all other jurisdictional requirements for coverage have been met.

Charging Party alleges Respondent discriminated against her because of her disability when it
failed to engage in the interactive process to accommodate her disability and discharged her for
the same. Charging Party provided her previous employer with medical documentation and prescription
information regarding her disability. Charging Party. ‘alleges that on or about May 14, 2014 after
Respondent acquired Charging Party's previous employer, Respondent received her medical file and
should have been aware of her disability.

Respondent denies Charging Party’s allegations and maintains that she was discharged for gross
negligence, misconduct, and violating Respondent’s Medication Administration Policy and
Substance Free Policy. Respondent further maintains that it was unaware of Charging Party’s
disability until after her policy violations.

The record shows that on or about at least June 10, 2014, Respondent was aware of Charging
Party’s disabilities and need to take prescribed medication. A review of the evidence reveals that
Charging Party’s violations sesulted from her need to accommodate her disability. Rather than
attempt to provide her with a reasonable accommodation that would have allowed her to

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satisfactorily perform the essential functions of her position, Respondent failed to engage in the
interactive process with the Charging Party, and discharged her on July 2, 2014.

Based on the evidence obtained during the Commission’s investigation, I have determined that
there is reasonable cause to believe that Respondent violated the ADA by failing to engage in the’
interactive process with Charging Party and instead discharging her.

Upon finding reasonable cause that unlawful employment practices have occurred, the
Commission attempts to eliminate the alleged unlawful practices by informal methods of
conciliation. Conciliation is Respondent's opportunity to voluntarily remedy the unlawful
employment practices found to have occurred, Ultimately, any conciliation agreement must be
-acceptable:to the-Commission.- -Forthcoming under. separate cover isa proposed conciliation
agreement designed to remedy the unlawful employment practices found to have occurred in
this Letter of Determination. Respondent is invited to respond to this proposal within 21 days
of receipt.

If Respondent fails to engage in conciliation, or ifthe Commission determines, in its
sole discretion, that conciliation has failed, the Director will inform the parties and advise them
of the court enforcement alternatives available to aggrieved persons and the Commission.

 

On behalf of the Commission
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Date pencer H. Lewis
District Director

cc: Chris Donato (for Respondent)
Rhonda Greenblatt (for Charging Party)

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U.S: EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office
801 Market Street, Suite 1300
Philadelphia, PA 19107-3127
Intake Information Group: (800) 669-4000
Intake Information Group TTY: (800) 669-6820
Philadelphia Status Line: (866) 408-8075
Philadelphia Direct Dial: (215) 440-2602

 

TTY (215) 440-2610
FAX (215) 440-2606, 2632, 2848 & 2604
Website: www,ecoc,.g0v

Frances Devico
8 Lomurno Lane
Cape May Court House, NJ 08210

Charging Party
v. Charge Number: 530-2015-01207
GENESIS HEALTH CARE, LLC
101 E State Street
Kennett Square, PA 19348
Respondent

Notice of Conciliation Failure

The Equal Employment Opportunity Commission (EEOC) has determined that its efforts to
conciliate this charge filed under the Americans with Disabilities Act of 1990, as amended
(“ADA”), have been unsuccessful. Therefore, the case has been forwarded to our Legal Unit for
possible litigation. You will be informed of the EEOC’s decision in this matter.

If the EEOC decides to bring a civil action, on behalf of the Charging Party under the ADA, the
Charging Party will lose her right to private suit rights as soon as the EEOC files suit, unless she
has already filed.a private lawsuit against the Respondent.

If the EEOC decides that it will not bring a civil action based on this charge, the Charging Party
will be issued a Notice of Right to Sue, which will entitle her to sue the Respondent on her own

behalf. ce ee

It is requested that where suit is filed, that the Charging Party notify EEOC at the above address
by letter and copy of the complaint.

 

On Behalf of the Commission,
WIZ? a pv ZO
Date . Spencer H. Lewis, Jr. i
: District Director

ce: Kristine Grady Derewicz, for Respondent
Rhonda E. Greenblatt, Esq., for Charging Party

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“ — BEOE orn 161-8 (19/18) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO SUE
ae —~( CONCILIATION FAILURE)
To: Frances S. Devico From: Philadelphia District Office
8 Lomurno Lane 801 Market Street
Cape May Court House, NJ 08210 Suite 1300

Philadelphia, PA 19107

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

 

 

EEOC Charge No. EEOC Representative Telephone No.
530-2015-01207 Legal Unit (215) 440-2828
TO THE PERSON AGGRIEVED:

This notice concludes the EEOC’s processing of the above-numbered charge. The EEOC found reasonable cause to believe
that violations of the statute(s) occurred with respect to some or all of the matters alleged in the charge but could not obtain a
settlement with the Respondent that would provide relief for you. In addition, the EEOC has decided that it will not bring suit :
against the Respondent at this time based on this charge and will close its file in this case. This does not mean that the EEOC
is certifying that the Respondent is in compliance with the law, or that the EEOC will not sue the Respondent later or intervene

later in your lawsuit Fyou decide to sue on your own behalf.

- NOTICE OF SUIT RIGHTS -

. (See the additional information attached to this form.)
Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age

Discrimination in-‘Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your .
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be -

lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): PA suits must be filed in federal or state court within 2 years (3 years for willful violations) ofthe
alleged‘EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)

before you file suit may not be collectible.

If you file ‘suit, based on this.charge, please send a copy of your court complaint to this office.

 

gf behalf of the Commission
LA SO Le{ 2117
‘Enclosures(s) Spencer H. Lewis, Jr., (Date Mailed)
‘t. District Director

cc: Kristine Grady Derewicz Rhonda. Greenblatt, Esq.

LITTLER MENDELSON, PC LAW OFFICES OF RHONDA-E. GREENBLATT

Three Parkway Central Park East

1601 Cherry Street, Suite 1400 222 New Road, Suite 302

Philadelphia, PA 19102 Linwood, NJ 08221
Enctosus GR GeDeL “~CV-07556-RMB-JS Document 1 Filed 09/27/17 Page 36 of 37 PagelD: 36
Form 161-A (11/16)
INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORGED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA), |
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS - --

aad

in order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within within

90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90- |
day period ts over, your right to sue based on the charge referred to in this Notice will be lost. {f you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate .
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. -Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant-employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your-complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

‘EPA suits must be filed in court within 2 years 6 years for willful violations) of the alleged-EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA -
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vii, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed'within $0 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VIl, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer-+o represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. {f you need to
inspect or obtain a-copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While-EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF You FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
‘ amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new.law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix, and ~__ other ADA related publications, available at

....--http:/Avww.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a'“record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” -(e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

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“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination; exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory-(lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as

explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfn.
